
The Court
instructed the jury, that if they should be satisfied, by the evidence, that the plaintiff was brought from Maryland, into the county of Alexandria, in the year 1802, by the defendant’s father, who exercised acts of ownership over him, and hired him out as his slave, and that the plaintiff has been kept in the *265said county, for one whole year thereafter, or so long at dilferent times as amount to one year, before the bringing of this action, then the plaintiff is entitled to his freedom, although the jury should be satisfied that he was the property of the defendant, at the time he was so brought in, and that the defendant took the oath on the 5lh of July, as stated in the certificate.
Verdict for plaintiff/ Reversed by the Supreme Court of U. S. 3 Cranch, 324.
